                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

AMBER SIEBER, as Personal        )
Representative of the Estate of  )
Kevin M. Sieber, Deceased,       )
                                 )
     Plaintiffs,                 )
                                 )
v.                               )               CASE NO.: 1:20-cv-00185
                                 )
DANIELI CORPORATION AND DANIELI )
& C. OFFICINE MECCANICHE S.P.A., )
                                 )
    Defendants.                  )

        NOTICE OF SETTLEMENT AND REQUEST TO VACATE DEADLINES

        Plaintiff, Amber Sieber, as Personal Representative of the Estate of Kevin M.

Sieber, Deceased, by counsel, Burt, Blee, Dixon, Sutton & Bloom, LLP, hereby notifies

the Court that the parties have resolved all claims in the litigation filed under Cause No.

1:20-cv-00185. Therefore, the Plaintiff requests the Court to vacate all pending dates and

deadlines in this matter. The parties anticipate dismissal of this matter within sixty (60)

days.

                                   Respectfully submitted,

                                   BURT, BLEE, DIXION, SUTTON & BLOOM, LLP

                                   s/Jeremy J. Grogg
                                   Jeremy J. Grogg, #24206-02
                                   Jeffrey A. Clark, #18357-49
                                   200 E. Main Street, Suite 1000
                                   Fort Wayne, Indiana 46802
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                                   Attorneys for Plaintiff, Amber Sieber, as Personal
                                   Representative of the Estate of Kevin M. Sieber,
                                   Deceased
                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing was
forwarded via ECF electronic mail (“email”) United States First Class Mail (postage
prepaid), or hand delivery, on the 21st day of October, 2022, to:

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                                        s/Jeremy J. Grogg
                                        Jeremy J. Grogg
